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                                   4                                UNITED STATES DISTRICT COURT

                                   5                             NORTHERN DISTRICT OF CALIFORNIA

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                                   7     IN RE CAPACITORS ANTITRUST                        MDL Case No. 3:17-md-02801-JD
                                         LITIGATION
                                   8                                                       Case No. 14-cv-03264-JD

                                   9
                                                                                           PROPOSED VERDICT FORM
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                                  12
Northern District of California
 United States District Court




                                  13          The Court proposes to use this verdict form for the direct purchaser class jury trial. Any

                                  14   objections or concerns may be raised in court on December 13, 2021.

                                  15          IT IS SO ORDERED.

                                  16   Dated: December 10, 2021

                                  17

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                                                                                                   JAMES DONATO
                                  20                                                               United States District Judge
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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7     IN RE CAPACITORS ANTITRUST                          MDL Case No. 3:17-md-02801-JD
                                         LITIGATION
                                   8                                                         Case No. 14-cv-03264-JD

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                                                                                             VERDICT FORM
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                                  12
Northern District of California
 United States District Court




                                  13   When answering the following questions and filling out this Verdict Form, please follow the

                                  14   directions provided throughout the form. Your answer to each question must be unanimous.

                                  15

                                  16

                                  17   We, the jury, unanimously agree to the answers to the following questions submitted to us, and we

                                  18   return them as our verdict in this case:

                                  19

                                  20   Question No. 1:

                                  21   Did the Direct Purchaser Plaintiffs prove, by a preponderance of the evidence and in accordance

                                  22   with the instructions given to you, that defendant Nippon Chemi-Con Corporation (NCC)

                                  23   knowingly participated in a conspiracy to fix, raise, maintain, or stabilize the prices of aluminum,

                                  24   film and/or tantalum capacitors?

                                  25
                                                      _____YES        _____NO
                                  26
                                  27

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                                   1   Question No. 2:

                                   2   Did the Direct Purchaser Plaintiffs prove, by a preponderance of the evidence and in accordance

                                   3   with the instructions given to you, that defendant United Chemi-Con Inc. (UCC) knowingly

                                   4   participated in a conspiracy to fix, raise, maintain, or stabilize the prices of aluminum, film and/or

                                   5   tantalum capacitors?

                                   6
                                                      _____YES        _____NO
                                   7

                                   8   If you answered “Yes” to either Question 1 or Question 2, then continue to Question 3. If
                                   9   you answered “No” to both Question 1 and Question 2, then do not answer any other
                                       questions; go to the end of the form.
                                  10

                                  11

                                  12   Question No. 3:
Northern District of California
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                                  13   Did the Direct Purchaser Plaintiffs prove, by a preponderance of the evidence and in accordance
                                  14   with the instructions given to you, that they paid more for aluminum, film and/or tantalum
                                  15   capacitors in the United States than they would have without the conspiracy?
                                  16
                                                      _____YES        _____NO
                                  17

                                  18
                                       If you answer “Yes,” then continue to Question 4. If you answer “No,” then do not answer
                                  19   any other questions; go to the end of the form.

                                  20

                                  21

                                  22   Question No. 4:
                                  23   What is the amount of damages the Direct Purchaser Plaintiffs proved, by a preponderance of the
                                  24   evidence and in accordance with the instructions given to you, that they are entitled to recover?
                                  25

                                  26
                                                      $______________________________
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                                       You have now reached the end of the verdict form and should review it to ensure it accurately
                                   2   reflects your unanimous determinations. The Presiding Juror should then sign and date the verdict
                                       form in the spaces below and notify the courtroom deputy that you have reached a verdict. The
                                   3   Presiding Juror should retain possession of the verdict form and bring it when the jury is brought
                                       back into the courtroom.
                                   4

                                   5

                                   6   DATED: ________________________                Signed:

                                   7

                                   8

                                   9                                                  Presiding Juror

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                                  12
Northern District of California
 United States District Court




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